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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                 CASE NO.: 9:16−cv−81530−DMM

  GEO GROUP, INC.,

         Plaintiff,

  v.

  MATTHEW J. SWANDO,

        Defendant.
  ___________________________/

                                   NOTICE OF SETTLEMENT

         Plaintiff, the GEO Group, Inc., and Defendant, Matthew J. Swando, pursuant to S.D. Fla.

  L.R. 16.2(f), give notice that the parties to this action and the related case in Colorado brought by

  Plaintiff, GEO Group against Defendant Swando’s new/current employer, Numerex, have

  reached an agreement to settle the Colorado action subject to the Colorado Court’s approval of

  the settlement and entry of a Stipulated Injunction. The consummation of that settlement and

  entry of such injunction in the Colorado action will moot the issues presently pending in this

  Court. Accordingly, the parties respectfully request 21 days to conclude the Colorado settlement

  and thereafter submit an appropriate form of stipulation and order to conclude this action.

             DATED this 4th day of November, 2016.                     Respectfully submitted,

          COUNSEL FOR PLAINTIFF                          COUNSEL FOR DEFENDANT

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                                     CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on this 4th day of November, 2016, I electronically filed the

  foregoing document with the Clerk of the Court using the CM/ECF system. I also certify that the

  foregoing document is being served this day on all counsel of record or pro se identified on the

  attached Service List in the matter specified either via transmission of notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or Parties

  who are not authorized to receive electronically Notices of Electronic Filing.

                                                       BY: /s/ Courtney B. Wilson
                                                           Courtney B. Wilson, Esq.




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